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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                    JONESBORO DIVISION

HARVEY TORRES                                                 PLAINTIFF

v.                       No. 3:15-cv-205-DPM

MIDLAND FUNDING LLC, a                                    DEFENDANTS
California Corporation;
LAW OFFICE OF STEPHEN P.
LAMB, an Arkansas Corporation;
STEPHEN P. LAMB; and MAC GOLDEN

                              JUDGMENT

     Torres's complaint is dismissed with prejudice.



                                       D.P. Marshall J .
                                       United States District Judge
